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July 6, 2011
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Re: — Internal Investigation Documents Over Which Transocean Claims Work
Product Privilege in In Re: Oil Spill by the Oil Rig “Deepwater Horizon”
in the Gulf of Mexico, on April 20, 2010, MDL No. 2179

Dear Counsel:

I write regarding Transocean’s claims of work product privilege over the documents
relating to or supporting its internal investigation. Transocean’s privilege logs contain hundreds
of entries withholding documents forming the basis of Transocean’s Investigation Report on the
“Macondo Well Incident” solely on the basis of the work product doctrine. On June 22, 2011,
Transocean released its Investigation Report to the general public. Transocean thus disclosed the
report to the plaintiffs in MDL No. 2179, BP, Halliburton, Anadarko, and various other parties
who have filed claims against, and are adverse to, Transocean.

With this release and disclosure, Transocean has waived any work product privilege that
might have applied to its internal investigation. The work product privilege exists to
“safeguard[] the fruits of an attorney’s trial preparations from the discovery attempts of an
opponent.” Shields v. Sturm, Ruger & Co., 864 F.2d 379, 382 (Sth Cir. 1989). “Although work
‘product immunity is not automatically waived by disclosure of protected material to third parties,
disclosure does waive protection if it ‘has substantially increased the opportunities for potential
adversaries to obtain the information.”” Ecuadorian Plaintiffs v. Chevron Corp., 619 F.3d 373,
378 (Sth Cir. 2010); see also Shields, 864 F.2d at 382; Fox v. Taylor Diving & Salvage Co., 694
F.2d 1349, 1356 (Sth Cir. 1982). By making its investigative report generally available and
publishing it for all parties to review, Transocean cannot now claim work product over the
information upon which it was based.

Hong Kong London Los Angeles Munich New York Palo Alto San Francisco Shanghai Washington, D.C.
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Consistent with this governing case law and the principles of the work product doctrine,
courts have held that when a party discloses an internal report, both the report itself and the
underlying documents lose any work product privilege. E.g., Granite Partners, L.P. v. Bear,
Stearns & Co., 184 F.R.D. 49 (1999) (rejecting claims of work product protection and
compelling disclosure of “notes of witness interviews, valuations and analyses of securities
owned by the Funds, and documents collected from third parties” relating to a voluntarily
disclosed report of an investigation conducted to prepare for litigation); In re Leslie Fay Cos.
Sec. Litig., 161 F.R.D. 274 (S.D.N.Y. 1995) (rejecting work product protection for documents
underlying and connected to report of investigation into accounting regularities where that report
was provided to various government agencies); In Re Royal Ahold N.V. Secs. & ERISA Litig.,
230 F.R.D. 433 (D. Md. 2005) (same); Ross v. Abercrombie & Fitch Co., 2010 WL 419947 (S.D.
Ohio Jan. 28, 2010) (requiring disclosure of internal report regarding potential derivative action
as well as underlying documents). These decisions are directly on point and likewise require
production of the documents related to the publicly disclosed Transocean Investigation Report.

To be clear, BP is not seeking “mental impressions, conclusions, opinions or legal
theories of a party’s attorney or other representative concerning the litigation” as described in
Federal Rule of Civil Procedure (“FRCP”) 26(b)(3)(B). BP also is not seeking attorney client
communications. We note that for the documents at issue Transocean has claimed only the work
product privilege, and not that they are attorney-client communications.

The discussion of this qualification brings up a plain deficiency in Transocean’s privilege
logs. For many entries, Transocean’s logs list only the “DWH Investigation Team” as the
author, without any identification of the specific individuals who drafted the documents. Indeed,
in its hundreds of entries claiming work product privilege over documents created in furtherance
of the investigation, Transocean fails to identify a single attorney as the author or recipient of
those documents.

These privilege logs thus fail to properly describe the nature of the documents
Transocean is withholding as required by FRCP 26(b)(5)(A) and Pre Trial Order (“PTO”) No. 14
[Dkt. No. 655]. FRCP 26 requires that all information that a party is withholding on the basis of
privilege be expressly claimed and described in such a manner that would enable other parties to
assess the applicability of the privilege or protection. FRCP 26(b)(5)(A)(i)-Gi). PTO No. 14
further identifies what information is to be included on the privilege log and specifically requires
that all attorneys who are authors, signatories or recipients of withheld documents be identified.
PTO No. 14, § 3 (e). Therefore, to the extent that Transocean continues to claim that any of the
documents are privileged, BP requests that Transocean revise each such entry on its privilege
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logs naming “DWH Investigation Team” to identify the actual individuals who authored the
document.

On these bases, BP requests that Transocean immediately produce all documents relating
to Transocean’s internal investigation where Transocean has claimed that such documents are
protected by the work product privilege, including but not limited to the documents listed in the
following entries in Transocean’s privilege logs: 45, 47, 52-53, 59, 64, 68-69, 77-78, 82-86, 88-
89, 91, 93-95, 101-103, 108, 110-112, 117-118, 122, 132-144, 145-146, 149, 151-172, 176-258,
260-322, 423, 425-439, 440-449, 452-493, 495-550, 553, 558-560, 562-575, 579-597, 614-767,
769-770, 772-776, 779-789, 796-892, 907-913, 933-934, 938-939, 943-945, 947, 949, 972-979,
981, 985-987, 989-1021, 1024-1026, 1028-1031, 1036-1039, 1041-1042, 1045-1050, 1053,
1063-1068, 1073-1074, 1091-1092. To the extent that you refuse to produce any of the
documents described above, BP requests pursuant to FRCP 37 to meet and confer during the
week of July 11, 2011, to discuss any documents that Transocean is unwilling to produce.

Sincerely,

R:. Uhre Heck,

R. Chris Heck

cc: Richard C. Godfrey, P.C.
Andrew Langan, P.C.
Barry E. Fields, P.C.
Don K. Haycraft
